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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Tetris Holding, LLC         )
                             )                         Case No. 1:22-cv-719
 v.                          )
                             )                        Judge: Hon. Gary Feinerman
 THE PARTNERSHIPS and        )
 UNINCORPORATED ASSOCIATIONS )                        Magistrate: Hon. Jeffrey T. Gilbert
IDENTIFIED ON SCHEDULE A     )
                             )

                                       Voluntary Dismissal


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for Plaintiff hereby notify this Court that the Plaintiff voluntarily dismiss any and all

claims against defendants without prejudice:

 Doe        Store                                    Merchant ID
 350        Hokand                                   A1OLKICV94TYTR
 444        petite pine                              AMBQKQE1NRF8Y
 453        Raulke Direct                            AXQBXVK3978OE


Dated: June 28, 2022                           Respectfully submitted,

                                               By:     s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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